Case 3:17-cv-00072-NKM-JCH Document 374-1 Filed 11/08/18 Page 1 of 2 Pageid#: 3643




                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 8, 2018, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                         Lisa M. Lorish
    David L. Hauck                                  Federal Public Defenders Office
    David L. Campbell                               Western District of Virginia - Charlottesville
    Duane, Hauck, Davis & Gravatt, P.C.             401 E Market Street, Suite 106
    100 West Franklin Street, Suite 100             Charlottesville, VA 22902
    Richmond, VA 23220                              lisa_lorish@fd.org
    jgravatt@dhdglaw.com
    dhauck@dhdglaw.com                              Fifth Amendment Counsel for Defendant
    dcampbell@dhdglaw.com                           James A. Fields, Jr.

    Counsel for Defendant James A. Fields, Jr.

    Bryan Jones                                     Elmer Woodard
    106 W. South St., Suite 211                     5661 US Hwy 29
    Charlottesville, VA 22902                       Blairs, VA 24527
    bryan@bjoneslegal.com                           isuecrooks@comcast.net

    Counsel for Defendants Michael Hill,            James E. Kolenich
    Michael Tubbs, and League of the South          Kolenich Law Office
                                                    9435 Waterstone Blvd. #140
                                                    Cincinnati, OH 45249
                                                    jek318@gmail.com

    John A. DiNucci                                 Counsel for Defendants Jeff Schoep,
    Law Office of John A. DiNucci                   Nationalist Front, National Socialist
    8180 Greensboro Drive, Suite 1150               Movement, Matthew Parrott, Matthew
    McLean, VA 22102                                Heimbach, Robert Ray, Traditionalist Worker
    dinuccilaw@outlook.com                          Party, Jason Kessler, Vanguard America,
                                                    Nathan Damigo, Identity Europa, Inc.
    Counsel for Defendant Richard Spencer           (Identity Evropa), and Christopher Cantwell
Case 3:17-cv-00072-NKM-JCH Document 374-1 Filed 11/08/18 Page 2 of 2 Pageid#: 3644




           I further hereby certify that on November 8, 2018, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan
   a/k/a Loyal White Knights Church of
   the Invisible Empire, Inc.
   c/o Chris and Amanda Barker
   P.O. Box 54
   Pelham, NC 27311

   Moonbase Holdings, LLC
   c/o Andrew Anglin
   P.O. Box 208
   Worthington, OH 43085

   Andrew Anglin
   P.O. Box 208
   Worthington, OH 43085

   East Coast Knights of the Ku Klux Klan
   a/k/a East Coast Knights of the
   True Invisible Empire
   26 South Pine St.
   Red Lion, PA 17356

   Fraternal Order of the Alt-Knights
   c/o Kyle Chapman
   52 Lycett Circle
   Daly City, CA 94015

   Augustus Sol Invictus
   9823 4th Avenue
   Orlando, FL 32824

   Elliot Kline
   c/o Elmer Woodard
   5661 US Hwy 29
   Blairs, VA 24527

                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP

                                                       Counsel for Plaintiffs
